      Case 3:21-cv-30058-NMG Document 21-3
                                      12-1 Filed 01/31/22
                                                 10/22/21 Page 1 of 25




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

ANTHONY D. GULLUNI,                     )
District Attorney for the Hampden       )
County in the Commonwealth of           )
Massachusetts,                          )
                                        )
      Plaintiff,                        )
                                        )
      v.                                )      Civil Action No. 3:21-cv-30058-MGM
                                        )
NATHANIEL R. MENDELL,                   )
Acting United States Attorney for       )
the District of Massachusetts,          )
                                        )
      Defendant.                        )

                                 CERTIFICATION

      I, Jennifer A. Serafyn, Chief of the Civil Rights Unit for the United States

Attorney’s Office for the District of Massachusetts, hereby certify that, to the best of

my knowledge, the attached document constitutes a true and accurate list of the

contents of the administrative record for the United States Attorney’s Office for the

District of Massachusetts’ response to Hampden County District Attorney Anthony

D. Gulluni’s request for documents pursuant to the Department of Justice’s Touhy

regulations.

                                  /s/ Jennifer A. Serafyn
                                  Jennifer A. Serafyn
                                  Chief, Civil Rights Unit
                                  United States Attorney’s Office
                                  District of Massachusetts
Date: October 22, 2021
                    Case 3:21-cv-30058-NMG Document 21-3
                                                    12-1 Filed 01/31/22
                                                               10/22/21 Page 2 of 25




   Bates      Tab
                     Date               Author                     Recipient                   Description
  Number      No.
                               Andrew E. Lelling, United Anthony D. Gulluni,
USAO-001 to         Oct. 21,
               1               States Attorney for the   District Attorney,             Response to Touhy Request
 USAO-005            2020
                               District of Massachusetts Hampden District

                                                           Andrew E. Lelling, United
                                                           States Attorney for the
                               Jennifer Serafyn, Chief,
                                                           District of Massachusetts;
                    Oct. 21,   Civil Rights Unit, U.S.
 USAO-006      2                                           Mary B. Murrane, Chief,      Touhy Decision Memo
                     2020      Attorney’s Office for the
                                                           Civil Division, U.S.
                               District of Massachusetts
                                                           Attorney’s Office for the
                                                           District of Massachusetts

                              Anthony D. Gulluni,          Andrew E. Lelling, United
USAO-007 to         Sept. 14,
               3              District Attorney,           States Attorney for the      Touhy Request
 USAO-014             2020
                              Hampden District             District of Massachusetts

                               Anthony D. Gulluni,         Andrew E. Lelling, United
USAO-015 to         Aug. 20,
               4               District Attorney,          States Attorney for the      Touhy Request
 USAO-019            2020
                               Hampden District            District of Massachusetts
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 3 of 25




                       Tab 1
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 4 of 25




                                                         USAO-001
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 5 of 25




                                                         USAO-002
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 6 of 25




                                                         USAO-003
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 7 of 25




                                                         USAO-004
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 8 of 25




                                                         USAO-005
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 9 of 25




                       Tab 2




                               2
      Case 3:21-cv-30058-NMG Document 21-3
                                      12-1 Filed 01/31/22
                                                 10/22/21 Page 10 of 25




        Attorney-Client Privilege
Attorney-Client Privilege
Attorney-Client Privilege
                                                        Deliberative Process Privilege
Deliberative Process Privilege




                                                                    USAO-006
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 11 of 25




                       Tab 3




                                3
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 12 of 25




                                                         USAO-007
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 13 of 25




                                                         USAO-008
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 14 of 25




                                                         USAO-009
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 15 of 25




                                                         USAO-010
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 16 of 25




                                                         USAO-011
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 17 of 25




                                                         USAO-012
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 18 of 25




                                                         USAO-013
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 19 of 25




                                                         USAO-014
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 20 of 25




                       Tab 4




                                4
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 21 of 25




                                                         USAO-015
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 22 of 25




                                                         USAO-016
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 23 of 25




                                                         USAO-017
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 24 of 25




                                                         USAO-018
Case 3:21-cv-30058-NMG Document 21-3
                                12-1 Filed 01/31/22
                                           10/22/21 Page 25 of 25




                                                         USAO-019
